           Case 2:93-cv-00902-RBS Document 462 Filed 07/31/18 Page 1 of 1 PageID# 774
                                          Pnttch States district Court
                                               ^nelrrii jDistrict uf jdlir^iuin
                                              ^orfnlk, Xlirghtia 235 10
      Cljiimltrrs of
Hcbccca ^?cacl|
      Cl|if{ ^ubgr

                                                 July 31, 2018




       Robert W. McFarland, Esquire
       McGuire Woods
       101 West Main Street
       Suite           9000
       Norfolk,           VA 23510

                 Re:          RMS Titanic, Inc., etc. v.
                              The Wrecked and Abandoned Vessel,                   etc.
                              Case No.   2:93cv902


       Dear Mr.          McFarland:


            The court received your letter requesting that the hearing set
       for August 10, 2018, be generally continued to await further
       developments in the bankruptcy court proceedings.           The court
       declines to remove the hearing from its docket, as there are any
       number of matters that need to be addressed as a result of your recent
       status reports and notices to the court.

                This court will hold a status hearing on this case on August
       10,     2018, at 11:00 a.m.

                                                        Very truly yours,




                                                        Rebecca          Beach Smith


       RBS/dmt

      cc:        Kent Porter, Assistant United States Attorney

                 Brian A. Wainger,          Esquire

                 Jackie Rolleri,          Esquire
